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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

KAY MESSINA,
Plaintiff,
v.

Case No.: 1:16-cv-00211-SLR

PORTFOLIO BUSINESS

MANAGEMENT, INC.,

Defendant.

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|PR§MSED| ORDER

Defendant, PORTFOLIO BUSINESS MANAGEMENT, INC., having failed to
plead or otherwise defend in this action, and said default having been duly entered.

NOW, upon application of Plaintiff and affidavits demonstrating that Defendant
owes Plaintiff the sum of $1,000.00, that Defendant is not an infant or incompetent
person or in the military service of the United States, and that Plaintiff has incurred
attorney's fees and costs in the sum of $3,710.50.

lt is hereby ORDERED, ADJUDGED AND DECREED that Plaintiff recover
from Defendant, PORTFOLIO BUSINESS MANAGEMENT, INC., the sum of

$4,710.50 with interest as provided by law.

Dated: 419"1 117

 

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